
986 So.2d 66 (2008)
In re Jonathan C. PEDERSEN.
No. 2008-OB-1566.
Supreme Court of Louisiana.
July 14, 2008.
In Re Pedersen, Jonathan C;Plaintiff; Applying for Permission to Take Bar Examination.
Granted.
Petitioner is allowed to take the Louisiana State Bar Examination in July 2008. Upon satisfactorily passing the examination, petitioner may apply to this court for the appointment of a commissioner in accordance with Supreme Court Rule XVII, § 9, to take evidence and report to this court as to whether petitioner has the appropriate character and fitness to be admitted to the bar and allowed to practice law in the State of Louisiana.
JOHNSON, J., would deny.
TRAYLOR, J., would deny.
